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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:14CR3138
      vs.
                                                                 ORDER
ANDREW JOSE ESPINOZA, and
NICOLE RENEE CONTRERAS,
                    Defendants.


      Defendant Espinoza has moved to continue the trial currently set for February 9,
2015. (Filing No. 39). As explained in the motion, the defendant is in treatment and
needs additional time to consider whether to plead guilty or go to trial. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant Espinoza’s motion to continue, (filing no. 39), is granted.

      2)     As to both defendants, the trial of this case is set to commence before the
             Honorable Richard G. Kopf, Senior United States District Judge, in
             Courtroom 1, United States Courthouse, Lincoln, Nebraska, at 9:00 a.m.
             on April 6, 2015, or as soon thereafter as the case may be called, for a
             duration of three (3) trial days.        Jury selection will be held at
             commencement of trial.

      3)     Based upon the showing set forth in the defendant Espinoza’s motion and
             the representations of counsel, the Court further finds that the ends of
             justice will be served by continuing the trial; and that the purposes served
             by continuing the trial date in this case outweigh the interest of the
             defendant and the public in a speedy trial. Accordingly, as to both
             defendants, the additional time arising as a result of the granting of the
             motion, the time between today’s date and April 6, 2015, shall be deemed
             excludable time in any computation of time under the requirements of the
             Speedy Trial Act, because despite counsel’s due diligence, additional time
             is needed to adequately prepare this case for trial and failing to grant
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          additional time might result in a miscarriage of justice.   18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7).


          February 2, 2015.
                                          BY THE COURT:
                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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